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THE STATE BAR
OF CALIFORNIA

180 HOWARD STREET, SAN FRANCISCO, CALIFORNIA 94105-1617 TELEPHONE: 888-800-3400

 

 

CERTIFICATE OF STANDING

March 20, 2019

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, THEODORE
WALTER CASSMAN, #98932 was admitted to the practice of law in this
state by the Supreme Court of California on December 1, 1981; and has
been since that date, and is at date hereof, an ACTIVE member of the State
Bar of California; and that no recommendation for discipline for professional
or other misconduct has ever been made by the Board of Trustees or a
Disciplinary Board to the Supreme Court of the State of California.

THE STATE BAR OF CALIFORNIA

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Dina DiLoreto
Custodian of Records

 
